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IN THE UNITED STATED DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF TEXAS

HOUSTON DIVISION
NICK BHAGIA, ET AL §
Plaintiffs, §
§
Y. § CIVIL ACTION NO. 4:22-CV-00452
§
PHH MORTGAGE SERVICES, INC. §
Defendant. §

PLAINTIFFS’ RESPONSE TO DEFENDANT’S MOTION FOR SUMMARY
JUDGMENT

Plaintiffs Nick Bhagia (“Bhagia”’) and Saihat Corp. (“Saihait’”) do not dispute the facts as
articulated in the Defendant’s Motion For Summary Judgment filed by Defendant PHH Mortgage
Services, Inc., and have no substantive response to the legal arguments and authorities which are
cited in the Motion.

Respectfully submitted,
JERRY L. SCHUTZA

By: _/s/ Jerry L. Schutza

Jerry L. Schutza

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ATTORNEY FOR PLAINTIFFS
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CERTIFICATE OF SERVICE

I hereby certify that on the 27" day of September 2023, a true and correct copy of the
foregoing instrument was forwarded by e-service, email, certified mail, return receipt requested,
and/or by hand delivery and/or by fax transmission to counsel of record and any Pro Se parties.

Nick Frame

/s/ Jerry L. Schutza
Jerry L. Schutza

